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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

J.S.                                      :
                                          :
         Plaintiff,                       :      CIVIL ACTION FILE NO.:
                                          :      4:24-cv-00240-RSB-CLR
v.                                        :
                                          :
KISHANVB HOSPITALITY, LLC                 :
d/b/a MOTEL 6 HINESVILLE,                 :
                                          :
         Defendant.                       :

                            DISCLOSURE STATEMENT
                          OF PARTIES AND INTERVENORS

In accordance with Federal Rule of Civil Procedure 7.1 and Local Rule 7.1.1, I
hereby certify:

     1) I am counsel for the following parties and intervenors:

               NAME                                  PARTY DESIGNATION
 Kishanvb Hospitality LLC d/b/a Motel          Defendant
 6 Hinesville

     2) This is a full and complete list of officers, directors, and trustees of the
        above-identified parties and intervenors:

                NAME                                            TITLE
 Mohanbhai Patel                               Member
 Viralkumar Patel                              Member

     3) This is a full and complete list of all other persons, associations of persons,
        firms, partnerships, subsidiaries and parent corporations, and organizations
        which have a financial interest in, or another interest which could be
        substantially affected by, the outcome of this case, including any parent or
        publicly-held corporation that holds ten percent (10%) or more of a party’s
        stock (if no such individual or entity, state NONE):
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               NAME                              TITLE/RELATIONSHIP
Mohanbhai Patel                             Member
Viralkumar Patel                            Member

   4) If jurisdiction is based on diversity of citizenship, counsel must also
      provide the following disclosure. This is a full and complete list of every
      individual or entity whose citizenship is attributable to a party or intervenor:

   Not applicable

This 5th day of December, 2024

                                           FREEMAN MATHIS & GARY, LLP

                                           /s/ Sharon P. Horne
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                       CERTIFICATE OF E-SERVICE

      I hereby certify that I have this day electronically submitted the foregoing to

the Clerk of Court using the CM/ECF electronic filing system which will

automatically send electronic mail notification of such filing to the following

counsel of record:

                            Matthew B. Stoddard, Esq.
                              THE STODDARD FIRM
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                               Atlanta, GA 30307
                             matt@legalhelpga.com
                              Attorney for Plaintiff

      This 5th day of December 2024.
                                          FREEMAN MATHIS & GARY, LLP

                                          /s/ Sharon P. Horne
                                          Sharon P. Horne
                                          Attorney for Defendant
